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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS

                                        Case Number: 19-CV-07992

ROOR INTERNATIONAL BV and
SREAM, INC.

                          Plaintiffs,

v.

IZHAK CONVENIENT COMPANY d/b/a
TOBACCO ZONE and MOHAMMAD
ABDELHADI,

                  Defendants.
____________________________________/


                                   PLAINTIFFS’ STATUS REPORT1

        1.       Defendants have been served, and are in default.

        2.       Plaintiffs will be filing a Motion for Entry of Default under Rule 55(a), today.



Dated: August 18, 2020                                        Respectfully submitted,

                                                               /s/Christopher V. Langone
                                                              Christopher V. Langone
                                                              3033 N. Clark
                                                              Chicago, IL 60657
                                                              (312) 344-1945
                                                              langonelaw@gmail.com




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        This report is one day late, Plaintiffs’ counsel apologizes – his computer crashed and most of the day
yesterday, August 17, 2020, was spent recovering data and files.
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                                   CERTIFICATE OF SERVICE


        I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically filed

August 18, 2020 with the Clerk of Court using CM/ECF, which will send a notice of electronic

filing to all Parties listed on the Service List.



                                                        /s/ Christopher V. Langone
                                                        Christopher V. Langone




                                           SERVICE LIST

MUTUAL TRADERS LLC
d/b/a AMERICAN SMOKE & VAPE
R/A TAX WIZARD INC.
4438 Oakton Street
Skokie, Illinois 60076

MOHAMMAD I. PATEL
7026 W. Crain Street
Niles, Illinois 60714




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